Case 0:15-cv-61294-WPD Document 20 Entered on FLSD Docket 10/09/2015 Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                                       CASE NO. 15-61294-CIV-DIMITROULEAS

  MARC STOLTZ, an individual and
  IAGNES STOLTZ, an individual,

         Plaintiffs,
  v.

  INTEGRITY SOLUTION SERVICES, INC.,
  a Missouri corporation, doing business as
  CENTRAL CREDIT SERVICES,

        Defendant.
  _____________________________________/


                                      ORDER OF DISMISSAL

         THIS CAUSE is before the Court on the Joint Stipulation for Dismissal with Prejudice [DE

  19] (the “Stipulation”), filed herein on October 9, 2015. The Court has carefully considered the

  Stipulation, and is otherwise fully advised in the premises.

         Accordingly, it is ORDERED AND ADJUDGED as follows:

         1.      The Stipulation [DE 19] is hereby APPROVED;

         2.      This action is DISMISSED with prejudice;

         3.      As the parties have conditioned the effectiveness of the stipulation on the Court's

                 retaining jurisdiction, the Court will retain jurisdiction solely for the purpose of

                 enforcing the settlement agreement. See Anago Franchising, Inc. v. Shaz, LLC, 677

                 F.3d 1272 (11th Cir. 2012); and
Case 0:15-cv-61294-WPD Document 20 Entered on FLSD Docket 10/09/2015 Page 2 of 2




         4.     The Clerk is directed to CLOSE this case and DENY any pending motions as

                MOOT.

         DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida, this

  9th day of October, 2015.




  Copies furnished to:

  Counsel of Record
